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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND


AMERICAN FEDERATION OF STATE,
COUNTY AND MUNICIPAL
EMPLOYEES, AFL-CIO, et al.,

                       Plaintiffs,
                                                        Case No. 1:25-cv-00596-ELH
               v.

SOCIAL SECURITY
ADMINISTRATION, et al.,

                       Defendants.



   DEFENDANTS’ RESPONSE TO PLAINTIFFS’ MOTION TO EXPAND HEARING
      SCOPE AND FOR LEAVE TO FILE SUPPLEMENTAL DECLARATIONS

       Defendants oppose Plaintiffs’ motion to expand the scope of the preliminary injunction

hearing scheduled for April 15 at 10:00 a.m. and for leave to file supplemental declarations. ECF

No. 130. This Court provisionally granted Plaintiffs’ Motion for leave to file supplemental

declarations but allowed Defendants to request to rescind the Order as improvidently granted. ECF

No. 131. The Court did not rule on the motion to expand the scope of the hearing.

       The Court should rescind its order as improvidently granted, because Plaintiffs’ requested

relief is at odds with basic principles of fairness. In addition, the Court should deny the motion to

expand the scope of the hearing fewer than 24 hours before the hearing is set to begin. The purpose

of the hearing scheduled for tomorrow at 10:00 a.m. is to address Plaintiffs’ motion for preliminary

injunction, which is fully briefed and ready for decision by the Court. Defendants produced the

administrative record in this case on April 2, and, upon review of its contents, Plaintiffs did not

pursue discovery.
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       Having effectively conceded that the Court may decide their motion for a preliminary

injunction based on the administrative record, Plaintiffs should not be heard to now insist that live

testimony or extra-record evidence is necessary for the purposes of this hearing.            That is

particularly true given that Plaintiffs’ request came on the afternoon of Friday, April 11, less than

two business days before the scheduled hearing, and that Plaintiffs propose to file additional

declarations late in the afternoon the day before the hearing. Defendants requested that Plaintiffs

provide their proposed declarations to Defendants in advance of their filing, but Plaintiffs

declined.1 Without knowing what Plaintiffs propose to introduce, Defendants cannot prepare

adequately to address any new information contained in those declarations for a hearing the

following morning. See Kumandan v. Google LLC, No. 19-CV-04286-BLF, 2022 WL 17970213,

at *1 (N.D. Cal. Sept. 28, 2022) (holding that “litigation by surprise and shortness of time to

prepare a response is not part of the judicial process”).

       Defendants have prepared to argue Plaintiffs’ motion tomorrow morning based on the

record that has been available to both sides for more than a week. Plaintiffs’ approach would give

them an unfair advantage—allowing them to supplement the record for tomorrow’s hearing with

declarations they have known they want to submit for at least three days but that Defendants will

have fewer than 24 hours to analyze. Because of the closeness in time to tomorrow’s hearing,

Plaintiffs’ approach also denies Defendants the opportunity to respond in writing to Plaintiffs’

written submission.

       Plaintiffs point to an April 10, 2025, article published in the New York Times to raise the

specter of non-compliance with this Court’s temporary restraining order. Defendants have been



       1
          On Sunday, April 13, 2025, counsel for Defendants emailed Plaintiffs’ counsel to ask for
copies of the forthcoming declarations or, alternatively, for any information about their contents.
Plaintiffs’ counsel responded: “We’re not in a position to do that.”
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working diligently to understand the relevant facts since the article’s publication. Based on

Defendants’ understanding of the facts, the conclusions that Plaintiffs draw from the New York

Times article are largely inaccurate and overblown. If Plaintiffs wish to litigate Defendants’

compliance with the TRO, they should file a standalone motion identifying their concerns, and

Defendants should be allowed to respond in the normal course. Plaintiffs should not be allowed

to shoehorn their TRO compliance concerns into the hearing the Court scheduled on their motion

for a preliminary injunction based on declarations produced to the Court and Defendants mere

hours before the hearing begins.



Dated: April 14, 2025                      Respectfully submitted,

                                           YAAKOV M. ROTH
                                           Acting Assistant Attorney General
                                           Civil Division

                                           ELIZABETH J. SHAPIRO
                                           Deputy Branch Director
                                           Civil Division, Federal Programs Branch

                                            /s/ Bradley P. Humphreys
                                           BRADLEY P. HUMPHREYS
                                           Senior Trial Counsel
                                           MARIANNE F. KIES
                                           SAMUEL HOLT
                                           Trial Attorneys
                                           Civil Division, Federal Programs Branch
                                           United States Department of Justice
                                           1100 L Street NW
                                           Washington, DC 20005
                                           Telephone: (202) 305-0878
                                           Bradley.Humphreys@usdoj.gov

                                           Kelly O. Hayes
                                           Interim United States Attorney

                                           MICHAEL J. WILSON
                                           USDC Md Bar No. 18970

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                             Assistant United States Attorney
                             36 S. Charles St., 4th Floor
                             Baltimore, Maryland 21201
                             Tel: (410) 209-4941
                             Fax: (410) 962-2310
                             Michael.Wilson4@usdoj.gov

                             Attorneys for Defendants




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                              CERTIFICATE OF SERVICE

       I certify that on April 14, 2025, I electronically filed the foregoing and thereby caused a

copy to be served on counsel of record.


                                                      /s/ Bradley P. Humphreys
                                                      BRADLEY P. HUMPHREYS
